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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-cr-291-1 (ABJ)
                                              :
THOMAS F. SIBICK,                             :
                                              :
                       Defendant.             :


NOTICE TO COURT REGARDING MINUTE ORDER FILED ON OCTOBER 21, 2022

       In a Minute Order issued on October 21, 2022, the Court indicated a need to reschedule

the status conference previously scheduled for October 24, 2022, and asked the parties to file

Notice with the Court regarding their respective positions on the Waiver of the Time Under the

Speedy Trial Clock from October 24, 2022 to the next hearing date. In the interests of justice,

because of the Court and attorneys’ calendars, and ongoing discussions of possible disposition,

the Government asks that the time from October 24, 2022, until the next hearing date be

excluded from calculations under the Speedy Trial Act, 18 U.S.C. § 3161 et seq. The

Government has made efforts to coordinate with defense counsel, Stephen Brennwald, regarding

a new status date, but has not yet received a response.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     /s/ Cara A. Gardner
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